                  Case 1:20-cr-00213-NODJ-BAM Document 45 Filed 12/04/20 Page 1 of 3 3
AO 199A (Rev. 12/11) Order Setting Conditions of Release                                                     Page 1 of            Pages



                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                         Eastern District
                                                                                                       FILED
                                                      __________ Districtof
                                                                          ofCalifornia
                                                                            __________
                                                                                                      Dec 04, 2020
                                                                                                   CLERK, U.S. DISTRICT COURT
                                                                                                 EASTERN DISTRICT OF CALIFORNIA


                    United States of America                          )
                               v.                                     )
                                                                      )        Case No. 1:20-cr-00212-DAD-BAM
                 MIGUEL ZUNIGA ARTEAGA                                )                   FU'$'%$0
                               Defendant
                                                                      )

                                        ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:

(1) The defendant must not violate federal, state, or local law while on release.

(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
    any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
    the court may impose.

      The defendant must appear at:               United States Courthouse, 2500 Tulare Street, Fresno, CA
                                                                                       Place
       Courtroom 8 before Magistrate Judge Barbara A. McAuliffe

      on                                                         1/27/2021 @ 1:00 PM
                                                                     Date and Time

      If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance Bond, if ordered.
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                                                                                   Page                                                    2 of   3 Pages
AO 199B (Rev. 09/08- EDCA [Fresno]) Additional Conditions of Release (General)

ARTEAGA, Miguel Zuniga
Doc. No. 1:20CR00212-DAD-BAM
Doc. No.1:20CR00213-DAD-BAM

                                                ADDITIONAL CONDITIONS OF RELEASE
Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety of other
persons and the community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

0     (6)         The defendant is placed in the custody of:

                      Name of person or organization           Adriana Suarez Arteaga




                                   a, lhktfy
            who agrees (a) to supervise the defendant in accordance with all conditions ofrelease, (b) to use every effort to assure the appearance of the
            defendant at all scheduled court proceedings, and (c) to notify the court immediately in the event the defendant violates any conditions of
            release or disappears.

                      SIGNED:    · 'J2{
                                -~~~----+--~~---
                                   CUSTO iAN
      (7)         The defendant must:
            (a)   report on a regular basis to the following agency:
                  Pretrial Services and comply with their rules and regulations;
            (b)   report as directed to the Pretrial Services Agency on the first working day following your release from custody;
            (c)   reside at a location approved by the PSO, and not move or be absent from this residence without prior approval of
                  PSO; travel restricted to Eastern District of California, unless otherwise approved in advance by PSO;.
            (d)   report any co~tact with law enforcement to your PSO within 24 hours;
            (e)   cooperate in the collection of a DNA sample;
            (t)   not associate or have any contact with co-defendants, unless in the presence of counsel or otherwise approved in
                  advance by the PSO;
            (g)   maintain or actively seek employment, and provide proof thereof to the PSO, upon request;
            (h)   not possess, have in your residence, or have access to a firearm/ammunition, destructive device, or other
                  dangerous weapon; additionally, you must provide written proof of divestment of all firearms/ammunition,
                  currently under your control;
            (i)   refrain from excessive use of alcohol, or any use of a narcotic drug or other controlled substance without a
                  prescription by a licensed medical practitioner; and you must notify Pretrial Services immediately of any
                  prescribed medication(s). However, medical marijuana, prescribed and/or recommended, may not be used;
            (j)   surrender your passport to defense counsel, who will make arrangements to submit it to the Clerk's Office, United
                  States District Court, and you must not apply for or obtain a passport or any other travel documents during the
                  pendency of this case;;
            (k)   execute a bond or an agreement to forfeit upon failing to appear or failure to abide by any of the conditions of
                  release, the following sum of money or designated property: A full equity collateral bond, secured by the
                  available equity in the property of Daniel and Catalina Suarez; and,

            USMS SPECIAL INSTRUCTIONS:


            (1)   have your release on bond delayed until 9:00 a.m. on the next business day following the posting of the bond in
                  this matter.
                 Case
AO 199C (Rev. 09/08- EDCA1:20-cr-00213-NODJ-BAM
                          [Fresno]) Advice of Penalties       Document 45 Filed 12/04/20PagePage
                                                                                              3 3 of
                                                                                                  of 33                        Pages
                                                                                                                 ---
                                       ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of n~t more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or
attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or
intimidation are significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
       (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more - you will be fined
             not more than $250,000 or imprisoned for not more than 10 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years - you will be fined not
             more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony - you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor - you will be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                              Acknowledgment of the Defendant

       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all
conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions
set forth above.




                                            Directions to the United States Marshal

( 0) The defendant is ORDERED released after processing.


Date:    December 4, 2020
        -----------                                                               Judicial Officer's Signature

                                                      Jennifer L. Thurston, U.S. Magistrate Judge
                                                                                    Printed name and title




                  DISTRIBUTION:    COURT      DEFENDANT      PRETRIAL SERVICE       U.S. ATTORNEY          U.S. MARSHAL
